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 7

 8                                 UNITED STATES DISTRICT COURT

 9                                NORTHERN DISTRICT OF CALIFORNIA
10   THOMAS SEABURY, an individual,                          Case No. 3:20-cv-04928-EMC (AGT)
11                   Plaintiff,
                                                             STIPULATION AND [PROPOSED]
12   vs.                                                     ORDER REGARDING
                                                             CONTINUANCE OF THE
13   SAN RAMON VALLEY UNIFIED SCHOOL                         SETTLEMENT CONFERENCE
     DISTRICT, Superintendent RICK SCHMIT in his
14   official capacity, MELANIE JONES in her                 Hon. Judge Alex G. Tse
     official and individual capacity, JASON
15   KROLIKOWSKI in his official and individual
     capacity, JON CAMPOPIANO in his official and
16   individual capacity, and DOES 1 through 15,
     inclusive,
17
                     Defendants.
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20            PLAINTIFF THOMAS SEABURY and DEFENDANTS MELANIE JONES, JASON
21   KROLIKOWSKI and JON CAMPOPIANO (collectively, “Defendants”) by and through their
22   counsel of record, hereby stipulate as follows:
23         1. Counsel for the parties have been exchanging information and documents necessary to
24   engage in meaningful settlement negotiations in a Settlement Conference with Magistrate Judge
25   Alex G. Tse. The deposition of plaintiff SEABURY has been completed. The depositions of
26   defendant JASON KROLIKOWSKI and District employee Ben Lee are being scheduled for dates
27   in June due to plaintiff’s attorney’s trial schedule.
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                                                        1
       STIPULATION AND [PROPOSED] ORDER                          3:20-cv-04928-EMC (AGT)
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 1      2. To allow for completion of the two District employee depositions, the parties respectfully

 2   request a continuance of the current May 4, 2022 Settlement Conference. The completion of these

 3   two depositions by plaintiff are necessary in order for the parties to engage in meaningful and fruitful

 4   settlement negotiations at a Settlement Conference.

 5      3. The parties respectfully request a continuance of the Settlement Conference to a date in late

 6   July or early August 2022, depending on the Court’s schedule and availability.

 7      4. The parties are filing a contemporaneous request with Judge Edward M. Chen to continue

 8   the current ADR deadline to August 31, 2022.

 9          IT IS SO STIPULATED.
10   DATED: April 25, 2022                          BIGGS LAW OFFICE A.P.C.

11
                                                    ______/s/_Michael S. Biggs_______________
12                                                  Michael S. Biggs, Esq
13                                                  Attorney for plaintiff THOMAS SEABURY

14

15   DATED: April 25, 2022                          EDRINGTON, SCHIRMER & MURPHY LLP

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17                                                         /s/ Cody Lee Saal
                                                    Cody Lee Saal, Esq.
18                                                  Attorney for Defendants MELANIE JONES,
                                                    JASON KROLIKOWSKI and JON
19                                                  CAMPOPIANO
20
                                               ATTESTATION
21
            I hereby attest that I have obtained the consent of the other signatory to the filing of this
22
     document.
23
                                                           /s/ Cody Lee Saal
24                                                  Cody Lee Saal, Esq.
                                                    Attorney for Defendants MELANIE JONES,
25                                                  JASON KROLIKOWSKI and JON
                                                    CAMPOPIANO
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                                                       2
       STIPULATION AND [PROPOSED] ORDER                             3:20-cv-04928-EMC (AGT)
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 1                                       [PROPOSED] ORDER

 2          Pursuant to the Stipulation of the parties and good cause appearing, it is hereby ordered as

 3   follows:

 4      1. The Settlement Conference scheduled for May 4, 2022 is VACATED.

 5          IT IS SO ORDERED.

 6   DATED:

 7                                               _____________________________________
                                                 HON. ALEX G. TSE
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       STIPULATION AND [PROPOSED] ORDER                         3:20-cv-04928-EMC (AGT)
